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17

18
     STATE OF CALIFORNIA and GAVIN                )   Case No. 3:25-cv-03372-JSC
19   NEWSOM, in his official capacity as Governor )
     of California,                               )   DEFENDANTS’ NOTICE OF MOTION AND
20                                                )   MOTION TO TRANSFER TO THE U.S. COURT
             Plaintiffs,                          )   OF INTERNATIONAL TRADE
21                                                )
         v.                                       )   Date:    May 22, 2025
22                                                )   Time:    10:00 a.m.
     DONALD J. TRUMP, et al.,                     )
23                                                )
             Defendants.                          )
24                                                )
25

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21 Notice of Implementation of Additional Duties on Products of Mexico Pursuant to the President's
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 1                                   NOTICE OF MOTION AND MOTION

 2          PLEASE TAKE NOTICE that on May 22, 2025, at 10:00 a.m. or as soon thereafter as the matter

 3 may be heard, defendants will appear before the Honorable Jacqueline Scott Corley and move to

 4 transfer this case to the U.S. Court of International Trade under 28 U.S.C. § 1631, because that court has

 5 exclusive jurisdiction over plaintiffs’ claims.

 6                                           ISSUE TO BE DECIDED

 7          Should the Court, under 28 U.S.C. § 1631, transfer this civil action challenging the imposition of

 8 tariffs to the Court of International Trade, a specialized Article III court with nationwide jurisdiction

 9 that, under 28 U.S.C. § 1581, possesses exclusive jurisdiction to hear civil actions challenging the

10 imposition of tariffs?

11                           MEMORANDUM OF POINTS AND AUTHORITIES

12          In the International Economic Emergency Powers Act of 1977 (IEEPA), Congress confirmed the

13 President’s power to, among other things, “regulate importation” of foreign goods to deal with a national

14 emergency. The President, acting under IEEPA, has regulated imports by imposing tariffs on goods

15 from most countries through a series of Executive Orders, to deal with unusual and extraordinary threats

16 to the United States’s national security, foreign policy, and economy.

17          Plaintiffs challenge the President’s authority to impose tariffs under IEEPA, on both

18 constitutional and statutory grounds. But all of plaintiffs’ arguments concern the imposition of tariffs—
19 over which the Court of International Trade has exclusive jurisdiction. 28 U.S.C. § 1581(i) . Section

20 1631 of Title 28 of the U.S. Code requires transfer when there is “a want of jurisdiction” in the original

21 court and where the action could have been brought in another court. Because the Court of International

22 Trade has exclusive jurisdiction over the subject matter in plaintiffs’ complaint, the case should be

23 transferred to that court for any further proceedings, including any threshold challenges. The Ninth

24 Circuit has held cases involving tariffs under IEEPA’s materially identical predecessor statute cannot be

25 litigated in federal district courts. In addition, exercising jurisdiction over this case would place this

26 Court at odds with the Court of International Trade, which is presently exercising jurisdiction over two

27 cases challenging President Trump’s tariffs issued under IEEPA.

28

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 1                                                BACKGROUND

 2 I.       Legal Background

 3          A.      The International Emergency Economic Powers Act

 4          In 1977, Congress enacted IEEPA. See S. Rep. No. 95-466, at 1–2 (1977), reprinted in 1977

 5 U.S.C.C.A.N. 4540, 4541. When adopting IEEPA, Congress modified the existing Trading with the

 6 Enemy Act (TWEA) so that it applied only in periods of war, but also extended the President’s authority

 7 to periods of declared national emergencies. See Regan v. Wald, 468 U.S. 222, 227–28 (1984).

 8 Although the broad powers granted to the President under IEEPA are “essentially the same as” those

 9 under its predecessor TWEA, id.; see Dames & Moore v. Regan, 453 U.S. 654, 671–72 (1981) (IEEPA

10 was “directly drawn” from the language of TWEA), IEEPA provides authority to exercise those powers

11 during peacetime, “to deal with any unusual and extraordinary threat, which has its source in whole or

12 substantial part outside the United States, to the national security, foreign policy, or economy of the

13 United States,” 50 U.S.C. § 1701(a). Once the President declares a national emergency relating to such

14 a threat, IEEPA empowers the President to “regulate . . . importation . . . with respect to any property,

15 subject to the jurisdiction of the United States.” Id. § 1702(a)(1)(B). In full, the relevant subsection

16 authorizes the President to:

17                  [R]egulate, direct and compel, nullify, void, prevent or prohibit, any
                    acquisition, holding, withholding, use, transfer, withdrawal,
18                  transportation, importation or exportation of, or dealing in, or exercising
                    any right, power, or privilege with respect to, or transactions involving,
19                  any property in which any foreign country or a national thereof has any
                    interest . . . with respect to any property, subject to the jurisdiction of the
20                  United States[.]

21 Id. IEEPA also contains narrowly focused exceptions to this broad grant of authority, which, among

22 other things, state that the President may not regulate or prohibit “the importation from any country . . .

23 of any information or informational materials . . ..” Id. §1702(b)(1)–(4). But none of the exceptions

24 involves the President’s authority to impose tariffs to deal with a declared national emergency.

25          B.      The National Emergencies Act

26          The National Emergencies Act, Pub. L. No. 94-412, 90 Stat. 1255 (1976) (codified as amended

27 at 50 U.S.C. §§ 1601–51), was an effort by Congress to “establish procedural guidelines for the handling

28 of future emergencies with provision for regular Congressional review.” S. Rep. No. 94-922, at 1

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 1 (1976). The statute includes directives for Presidential declarations of national emergencies with respect

 2 to statutes “authorizing the exercise, during the period of a national emergency, of any special or

 3 extraordinary power.” 50 U.S.C. § 1621(a). Congress did not place any conditions on the President’s

 4 ability to declare a national emergency. Instead, Congress committed this determination to the President

 5 as “it would be wrong to try to circumscribe with words what conditions a President might be

 6 confronted.” Nat’l Emergencies Act: Hr’gs Before the Subcomm. on Admin. Law and Governmental

 7 Relations, 94th Cong. 27 (Mar. 6, 1975) (statement of Sen. Mathias); see also id. at 31 (“[W]e didn’t

 8 attempt to define it specifically because we were afraid we would circumscribe the President’s

 9 constitutional powers.”); id. at 27 (statement of Sen. Church) (similar).

10          Recognizing that a declaration of an emergency was essentially a political question to be

11 resolved by the political branches, Congress gave itself the exclusive oversight authority over a

12 President’s national emergency declaration. For instance, Congress directs that a declaration of a

13 national emergency be “immediately . . . transmitted to the Congress and published in the Federal

14 Register.” 50 U.S.C. § 1621(a). Congress also directs the President to comply with congressional

15 reporting requirements pertaining to that declaration. Id. § 1641(a)–(c). Congress may terminate a

16 national emergency through a joint resolution that is subject to fast-track procedures, and Congress is

17 directed to meet “[n]ot later than six months after a national emergency is declared, and [every six

18 months thereafter],” to consider whether the emergency shall be terminated. Id. § 1622(a)–(c). A
19 declaration of a national emergency also “terminate[s] on the anniversary of the declaration” unless the

20 President provides notice to Congress that the emergency “continue[s].” Id. § 1662(d).

21 II.      Executive Orders Under IEEPA

22          At issue in this case are four declared national emergencies and the President’s actions to deal

23 with these emergencies.

24          A.      Mexico and Canada Executive Orders

25          In January 2025, the President declared the flow of contraband drugs like fentanyl to the United

26 States through illicit distribution networks, and the resulting public-health crisis, to be a national

27 emergency. Proclamation 10886 of January 20, 2025, Declaring a National Emergency at the Southern

28 Border of the United States, 90 Fed. Reg. 8,327 (Jan. 29, 2025). On February 1, 2025, the President

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 1 found that “the failure of Canada to do more to arrest, seize, detain, or otherwise intercept [drug-

 2 trafficking organizations], other drug and human traffickers, criminals at large, and drugs” had

 3 contributed to this crisis. Executive Order 14193 of February 1, 2025, § 1, Imposing Duties to Address

 4 the Flow of Illicit Drugs Across Our Northern Border, 90 Fed. Reg. 9,113, 9,114 (Feb. 7, 2025). Also

 5 on February 1, 2025, the President found that Mexico had “fail[ed] to arrest, seize, detain, or otherwise

 6 intercept [drug-trafficking organizations], other drug and human traffickers, criminals at large, and illicit

 7 drugs.” Executive Order 14194 of February 1, 2025, § 1, Imposing Duties to Address the Situation at

 8 Our Southern Border, 90 Fed. Reg. 9,117, 9,118 (Feb. 7, 2025).

 9          Using his broad powers under IEEPA, the President took action to deal with the unusual and

10 extraordinary threat to the United States’s national security, foreign policy, and economy, ordering that

11 most Canadian and Mexican imports be assessed a 25% duty (except for energy and energy resources

12 from Canada, which were assessed a 10% duty). Id.; Executive Order 14194 of February 1, 2025,

13 Imposing Duties to Address the Situation at Our Southern Border, 90 Fed. Reg. 9,117 (Feb. 7, 2025).

14          Two days later, on February 3, 2025, the President issued two Executive Orders, recognizing that

15 Canada and Mexico had taken immediate steps to alleviate the flow of illicit drugs and illegal aliens into

16 the United States, but finding that additional time was needed to assess those steps’ sufficiency.

17 Executive Order 14197 of February 3, 2025, Progress on the Situation at Our Northern Border, 90 Fed.

18 Reg. 9,183 (Feb. 10, 2025); Executive Order 14198 of February 3, 2025, Progress on the Situation at
19 Our Southern Border, 90 Fed. Reg. 9,185 (Feb. 10, 2025). Accordingly, the President paused most of

20 the tariffs on Mexican and Canadian goods until March 4, 2025. Id.

21          Shortly after that pause lapsed, the President issued two Executive Orders exempting all

22 Canadian and Mexican goods that qualify for duty-free entry under the United States-Mexico-Canada

23 Agreement (USMCA). Executive Order 14231 of March 6, 2025, Amendment to Duties to Address the

24 Flow of Illicit Drugs Across Our Northern Border, 90 Fed. Reg. 11,785 (Mar. 11, 2025); Executive

25 Order 14232 of March 6, 2025, Amendment to Duties To Address the Flow of Illicit Drugs Across Our

26 Southern Border, 90 Fed. Reg. 11,787 (Mar. 11, 2025). As a result, only goods imported from Canada

27 that are not USMCA-qualifying—generally, goods that do not originate from North America—are

28 subject to the tariffs imposed by Executive Orders 14193 and 14194. In accordance with these

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 1 Executive Orders, the U.S. Department of Homeland Security, through U.S. Customs and Border

 2 Protection, implemented these tariffs by modifying the Harmonized Tariff Schedule of the United States

 3 (HTSUS), which sets forth the duty rates for all imported goods. Notice of Implementation of Additional

 4 Duties on Products of Canada Pursuant to the President’s Executive Order 14193, Imposing Duties To

 5 Address the Flow of Illicit Drugs Across Our Northern Border, 90 Fed. Reg. 11,423 (Mar. 6, 2025);

 6 Notice of Implementation of Additional Duties on Products of Mexico Pursuant to the President's

 7 Executive Order 14194, Imposing Duties To Address the Situation at Our Southern Border, 90 Fed. Reg.

 8 11,429 (Mar. 6, 2025); Amendment to Notice of Implementation of Additional Duties on Products of

 9 Canada Pursuant to the President’s Executive Order 14193, Imposing Duties To Address the Flow of

10 Illicit Drugs Across our Northern Border, 90 Fed. Reg. 11,743 (Mar. 11, 2025); Amendment to Notice of

11 Implementation of Additional Duties on Products of Mexico Pursuant to the President’s Executive

12 Order 14194, Imposing Duties To Address the Situation at Our Southern Border, 90 Fed. Reg. 11,746

13 (Mar. 11, 2025).

14          B.      China Executive Orders

15          On February 1, 2025, the President took additional action under IEEPA to specifically address

16 the unusual and extraordinary threat from the People’s Republic of China (PRC), including the PRC’s

17 failures to stem the flow of contraband drugs to the United States. Executive Order 14195 of February

18 1, 2025, Imposing Duties To Address the Synthetic Opioid Supply Chain in the People’s Republic of
19 China, 90 Fed. Reg. 9,121 (Feb. 7, 2025). The President found that the PRC had failed “to arrest, seize,

20 detain, or otherwise intercept chemical precursor suppliers, money launderers, other [Transnational

21 Criminal Organizations], criminals at large, and drugs.” Id. at 9,122. To address the national

22 emergency, the President took “decisive and immediate action” under IEEPA and “decided to impose,

23 consistent with law, ad valorem tariffs on articles that are products of the PRC as set forth in this order.”

24 Id.

25          The President then imposed a 10% ad valorem duty rate on most goods imported from the PRC

26 and authorized DHS to take any necessary actions to implement the order. Id. at 9,122–23. DHS,

27 through CBP, did so shortly thereafter. See Implementation of Additional Duties on Products of the

28 People’s Republic of China Pursuant to the President’s February 1, 2025 Executive Order Imposing

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 2 9,038 (Feb. 5, 2025) (implementing the 10% duty through amendments to the Harmonized Tariff

 3 Schedule of the United States set out in an Annex to the Federal Register notice). On March 3, 2025, the

 4 President amended the order to increase the amount of duty to 20%. Executive Order 14228 of March 3,

 5 2025, Further Amendment to Duties Addressing the Synthetic Opioid Supply Chain in the People’s

 6 Republic of China, 90 Fed. Reg. 11,463 (Mar. 7, 2025); Further Amended Notice of Implementation of

 7 Additional Duties on Products of the People’s Republic of China Pursuant to the President’s Executive

 8 Order 14195, Imposing Duties to Address the Synthetic Opioid Supply Chain in the People’s Republic of

 9 China, 90 Fed. Reg. 11,426 (Mar. 6, 2025) (implementing the 20% duty through amendments to the

10 HTSUS set out in an Annex to the Federal Register notice).

11          C.      Reciprocal Tariff Executive Orders

12          On April 2, 2025, the President declared a separate national emergency, finding “that underlying

13 conditions, including a lack of reciprocity in our bilateral trade relationships, disparate tariff rates and

14 non-tariff barriers, and U.S. trading partners’ economic policies that suppress domestic wages and

15 consumption, as indicated by large and persistent annual U.S. goods trade deficits, constitute an unusual

16 and extraordinary threat to the national security and economy of the United States.” Executive Order

17 14257 of April 2, 2025, Regulating Imports With a Reciprocal Tariff To Rectify Trade Practices That

18 Contribute to Large and Persistent Annual United States Goods Trade Deficits, 90 Fed. Reg. 15,041
19 (Apr. 7, 2025). That threat, the President found, “has its source in whole or substantial part outside the

20 United States in the domestic economic policies of key trading partners and structural imbalances in the

21 global trading system.” Id.

22          In particular, these “large and persistent annual U.S. goods trade deficits” have “atrophied” our

23 nation’s “domestic production capacity” to the point where, now, the United States’ “military readiness”

24 and “national security posture” are “comprise[d]”—an “especially acute” emergency given “the recent

25 rise in armed conflicts abroad.” Id. at 15,044–55. The Executive Order explains, for instance, that

26 “because the United States has supplied so much military equipment to other countries, U.S. stockpiles

27 of military goods are too low to be compatible with U.S. national defense interests.” Id. at 15,043.

28 Additionally, “[i]ncreased reliance on foreign producers for goods also has compromised U.S. economic

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 1 security by rendering U.S. supply chains vulnerable to geo-political disruption and supply shocks.” Id.

 2 (noting the existence of supply disruptions currently being caused by “Houthi rebels . . . attacking cargo

 3 ships in the Middle East”). “The future of American competitiveness depends on reversing” the

 4 hemorrhage of manufacturing and manufacturing jobs to create “the industrial base” the nation “needs

 5 for national security,” as well as safeguarding the vitality of the nation’s food and agriculture sectors.

 6 Id. at 15,044.

 7           Again, using his broad powers under IEEPA, the President took action that he deemed necessary

 8 and appropriate to deal with this unusual and extraordinary threat to the United States’s national security

 9 and economy, and imposed a 10% duty on most imported goods. Id. at 15,045. These duties took effect

10 on April 5, 2025, with select countries having additional duties imposed on April 9. Id. Since the initial

11 declaration, the President has twice taken additional actions that he deemed necessary and appropriate to

12 address this national emergency, including raising the duty rate for Chinese products. Executive Order

13 14266 of April 9, 2025, Modifying Reciprocal Tariff Rates to Reflect Trading Partner Retaliation and

14 Alignment, 90 Fed. Reg. 15,625 (Apr. 15, 2025); Executive Order 14259 of April 8, 2025, Amendment to

15 Reciprocal Tariffs and Updated Duties as Applied to Low-Value Imports From the People’s Republic of

16 China, 90 Fed. Reg. 15,509 (Apr. 14, 2025).

17           The 10% duty on most imported goods imposed on April 5, and the additional country-specific

18 duties starting on April 9, do not currently apply to Canadian or Mexican goods. Executive Order 14257
19 of April 2, 2025, Regulating Imports With a Reciprocal Tariff To Rectify Trade Practices That

20 Contribute to Large and Persistent Annual United States Goods Trade Deficits, 90 Fed. Reg. 15,041

21 (Apr. 7, 2025).

22 III.      Plaintiffs’ Suit

23           On April 16, 2025, plaintiffs, the State of California and Governor of California, Gavin Newsom,

24 filed a complaint in this Court. ECF No. 1. The State of California, through its Attorney General,

25 alleges it is harmed by the tariffs because they “put at risk [California’s] position as the fifth largest

26 economy in the world . . . .” Compl. ¶ 133. Governor Newsom alleges he is harmed because the tariffs’

27 alleged effects on the State “directly impact [his] ability to deliver on his policy goals for all

28 Californians.” Id.

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 1           Plaintiffs allege that the Executive Orders imposing tariffs on Mexican, Canadian, and Chinese

 2 goods exceed the President’s statutory authority and “violate[] the separation of powers doctrine.” Id.

 3 ¶ 151. As a remedy, plaintiffs ask the Court to: (1) “[d]eclare” the challenged Executive Orders

 4 “unlawful and void, because they were issued ultra vires in excess of statutory authority and/or because

 5 they are unconstitutional and violate separation of powers . . . .,” id. at Prayer for Relief ¶ 1, and

 6 (2) “[e]njoin” the agency defendants from “taking any action to implement or enforce” the Orders, id. at

 7 Prayer for Relief ¶ 2. Plaintiffs also seek fees and costs under the Equal Access to Justice Act. Id. at

 8 Prayer for Relief ¶ 3.

 9                                            STANDARD OF REVIEW

10           Federal courts have an obligation to ensure in each case that their actions are “limited to those

11 subjects encompassed within a statutory grant of jurisdiction.” Insurance Corp. of Ireland, Ltd. v.

12 Compagnie Des Bauxites, 456 U.S. 694, 701 (1982). A plaintiff bears the burden to establish the subject

13 matter jurisdiction of the district court. Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 377 (1994);

14 FW/PBS, Inc. v. City of Dallas, 493 U.S. 215, 231 (1990).

15           Ninth Circuit “precedent requires courts faced with conflicts between the broad grants of

16 jurisdiction to the district courts and the grant of exclusive jurisdiction to the Court of International

17 Trade to resolve those conflicts by upholding the exclusivity of the Court of International Trade’s

18 jurisdiction.” United States v. Universal Fruits & Vegetables Corp., 370 F.3d 829, 836 (9th Cir. 2004)
19 (cleaned up). Accordingly, when the Court of International Trade appears to have subject-matter

20 jurisdiction over an action filed in district court, “the prudent thing to do is to . . . transfer the case to the

21 [Court of International Trade,] so that [it] can determine the question of its own jurisdiction.” Pentax

22 Corp. v. Myhra, 72 F.3d 708, 711 (9th Cir. 1995). Such transfer is accomplished through 28 U.S.C.

23 § 1631, which provides that whenever a civil action is filed and a court finds “there is a want of

24 jurisdiction, the court shall, if it is in the interest of justice, transfer such action . . . to any other such

25 court . . . in which the action or appeal could have been brought at the time it was filed . . . .”

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 1                                                 ARGUMENT

 2 I.       Transfer is Required Because the Court of International Trade Has Exclusive Subject-
            Matter Jurisdiction Over Plaintiffs’ Complaint
 3

 4          This Court lacks jurisdiction to hear this case and should promptly transfer it to the Court of

 5 International Trade.

 6          The Court of International Trade possesses “exclusive jurisdiction” over “any civil action

 7 commenced against” federal agencies or officers that “arises out of any law of the United States

 8 providing for . . . tariffs, duties, fees or other taxes on the importation of merchandise for reasons other

 9 than the raising of revenue” or under any law providing for “revenue from imports.” 28 U.S.C. §

10 1581(i)(1)(A), (B). The Court of International Trade also has exclusive jurisdiction over any civil action

11 arising out of any law “providing for . . . administration and enforcement with respect to the matters

12 referred to in” any preceding provision of § 1581(i)(1). Id. § 1581(i)(1)(D). To emphasize that the

13 district courts lack concurrent jurisdiction over these specialized subject matters, Congress separately

14 provided that “[t]he district courts shall not have jurisdiction under this section of any matter within the

15 exclusive jurisdiction of the Court of International Trade . . . .” Id. § 1337(c).

16          The Supreme Court has confirmed that these statutes mean exactly what they say. When one of
17 the “grants of exclusive jurisdiction to the Court of International Trade” applies, all other district courts

18 are “divested of jurisdiction” over the action. K-Mart Corp. v. Cartier, Inc., 485 U.S. 176, 182–83
19 (1988). Other courts (including the Ninth Circuit) similarly agree that “section 1581(i) removes

20 specific actions from the general federal-question jurisdiction of the district courts (under 28 U.S.C. §

21 1331) and places them in the jurisdiction of the Court of International Trade.” Orleans Int’l, Inc. v.

22 United States, 334 F.3d 1375, 1378 (Fed. Cir. 2003); see also Conoco, Inc. v. U.S. Foreign-Trade Zones

23 Bd., 18 F.3d 1581, 1586 (Fed. Cir. 1994); Pentax Corp., 72 F.3d at 711. Thus, where Congress has

24 provided that the Court of International Trade is the exclusive forum for challenges to tariffs imposed on

25 imported merchandise, the district courts have no power to act.

26          The Court of International Trade’s exclusive jurisdiction over tariff cases serves an important
27 function: it consolidates this area of law “in one place . . . with an already developed expertise in

28 international trade and tariff matters,” thus ensuring a “degree of uniformity and consistency.” Conoco,

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 1 18 F.3d at 1586. Consolidating tariff matters in a single jurisdiction protects the constitutional

 2 requirement that “[a]ll Duties, Imposts, and Excises shall be uniform throughout the United States.”

 3 U.S. Const. art. 1, § 8, cl. 1. If tariff challenges like those raised by plaintiffs could be brought in any

 4 (or every) district court, there would be a risk of inconsistent results and different tariffs imposed in

 5 different regions of the country, in direct conflict with Congress’ statutory design. Indeed, Congress has

 6 consistently placed judicial review of tariff matters in a single forum, beginning with the Board of

 7 Appraisers in 1890, see Customs Administration Act of 1890, ch. 407, 26 Stat. 131; then the Customs

 8 Court in 1926, see Act of May 28, 1926, ch. 411, 44 Stat. 669; and finally today’s Court of International

 9 Trade.

10          Reflecting the exclusive jurisdiction statutes and their underlying purposes of ensuring

11 uniformity, the Court of International Trade’s exclusive jurisdiction is broad, encompassing

12 constitutional challenges to tariffs, duties, exactions, and embargoes. See, e.g., U.S. Shoe Corp. v.

13 United States, 523 U.S. 360 (1998) (constitutional challenge to Harbor Maintenance Fee); Totes-

14 Isotoner Corp. v. United States, 594 F.3d 1346, 1350–51 (Fed. Cir. 2010) (constitutional challenge to

15 Tariff Schedules of the United States); cf. Arjay Associates, Inc. v. Bush, 891 F.2d 894 (Fed. Cir. 1989)

16 (constitutional challenge to embargo on imports from certain Japanese companies); see also

17 Commodities Export Co. v. U.S. Customs Serv., 957 F.2d 223, 229–30 (6th Cir. 1992).

18          Its exclusive jurisdiction also includes challenges to Presidential proclamations imposing duties

19 and tariffs. See, e.g., Transpacific Steel LLC v. United States, 4 F.4th 1306 (Fed. Cir. 2021)

20 (Presidential proclamation imposing tariffs on steel under Section 232 of the Trade Expansion Act of

21 1962); Solar Energy Indus. Assn. v. United States, 111 F.4th 1349, 1351 (Fed. Cir. 2024) (Presidential

22 proclamation imposing tariffs on solar panels pursuant to Section 201 of Trade Act of 1974); Simon

23 Design Inc. v. United States, 609 F.3d 1335 (Fed. Cir. 2010) (Presidential proclamation modifying tariff

24 schedules); Motion Systems Corp. v. Bush, 437 F.3d 1356 (Fed. Cir. 2006) (en banc) (Presidential

25 proclamation declining to impose China-specific safeguard tariff); Corus Group PLC v. Int’l Trade

26 Comm’n, 352 F.3d 1351 (Fed. Cir. 2003) (Presidential proclamation imposing duties on certain steel

27 products, based on Section 201); Maple Leaf Fish Co. v. United States, 762 F.2d 86 (Fed. Cir. 1985)

28 (Presidential proclamation imposing duties on mushrooms based on Section 201); See N. Am. Foreign

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 1 Trading Corp. v. United States, 600 F. Supp. 226, 230 (Ct. Int’l Trade 1984) (upholding validity of

 2 Executive Order causing plaintiff’s goods to be classified under provision of the Tariff Schedules of the

 3 United States).

 4          Here, plaintiffs challenge the President’s authority to impose tariffs under IEEPA. This question,

 5 including all threshold questions, falls squarely within the exclusive subject matter jurisdiction of the

 6 Court of International Trade because they arise out of laws providing for tariffs or the administration or

 7 enforcement of those laws. 28 U.S.C. § 1581(i)(1)(B), (D). This Court thus lacks jurisdiction over the

 8 case and should transfer it to the Court of International Trade.

 9          This is precisely how similar cases have been treated in this Circuit. Under TWEA (IEEPA’s

10    predecessor statute), the Ninth Circuit held that a claim about the imposition of a 10% duty on imports

11    belonged in the Customs Court—the predecessor to the Court of International Trade. See Cornet

12    Stores v. Morton, 632 F.2d 96, 99–100 (9th Cir. 1980) (affirming district court’s decision that claim

13    seeking recovery of duties paid pursuant to order authorized under TWEA fell within exclusive

14    jurisdiction of the Customs Court); accord Earth Island Institute v. Christopher, 6 F.3d 648, 651 (9th

15    Cir. 1990) (holding that challenge to embargo provision fell exclusively within Court of International

16    Trade’s jurisdiction under § 1581(i)). Along the same lines, the Court of Customs and Patent

17    Appeals—the Federal Circuit’s predecessor that heard appeals from the Customs Court—also

18    adjudicated another TWEA matter brought in the right forum. See, e.g., United States v. Yoshida Int’l,

19    526 F.2d 560 (C.C.P.A. 1975); accord Alcan Sales, Div. of Alcan Aluminum Corp. v. United States,

20    693 F.2d 1089 (Fed. Cir. 1982).

21         In fact, the Court of International Trade is currently considering two similar challenges to the

22 President’s authority under IEEPA. Barnes v. United States, No. 25-0043, ECF No. 3 (Compl.); V.O.S.

23 Selections Inc. v. Trump, No. 25-00066, ECF No. 2 (Compl.). In both cases, plaintiffs, like the State and

24 the Governor here, claim that the President was not authorized to impose tariffs under IEEPA. In

25 V.O.S., the Court of International Trade has just assigned a three-judge panel to hear the case, under the

26 statute directing the Chief Judge to

27                   designate any three judges of the court to hear and determine any civil
                     action which the chief judge finds: (1) raises an issue of the
28                   constitutionality of an Act of Congress, a proclamation of the President or
                     an Executive order; or (2) has broad or significant implications in the
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 1                   administration or interpretation of the customs laws.

 2 28 U.S.C. § 255 (emphasis added). And while the United States has asked the court to dismiss the

 3 complaint in Barnes for lack of standing because Mr. Barnes has not established harm, for the reasons

 4 stated above, the consideration of whether to dismiss belongs exclusively to the Court of International

 5 Trade. See Barnes, ECF No. 9. Because the Court of International Trade’s jurisdiction over tariff cases

 6 is exclusive, this Court’s retention of this case would require the conclusion that the Court of

 7 International Trade has erred in exercising jurisdiction over both cases. It would likewise conflict with

 8 the Ninth Circuit’s Cornet Stores transfer of a TWEA-based tariff case because the substantive language

 9 in TWEA and IEEPA is the same. Both statutes empower the President to “regulate . . . importation.”

10 50 U.S.C. § 1702(a)(1)(B); see Cornet Stores, 632 F.2d at 97 & n.1.

11           Moreover, over the last several years, the Court of International Trade has entertained thousands

12 of challenges to various Presidential actions imposing tariffs. See, e.g. HMTX Indus. v. United States,

13 No. 20-00177 (Ct. Int’l Trade); appeal filed, No. 23-1891, ECF No. 5 (Fed. Cir. May 25, 2023)

14 (identifying the 4,100 similar cases stayed pending resolution of the appeal). Likewise, the Court of

15 International Trade routinely exercises jurisdiction under 28 U.S.C. § 1581(i) to review agency

16 determinations under the Administrative Procedure Act. See, e.g., Sea Shepherd New Zealand v. United

17 States, No. 20-00112 (Ct. Int’l Trade); Maui and Hector’s Dolphin Defenders NZ Inc. v. Nat’l Marine

18 Fisheries Svc., No. 24-00218 (Ct. Int’l Trade). This complaint should be treated no differently.
19           Because only the Court of International Trade has jurisdiction to hear this dispute regarding the

20 imposition of tariffs, this Court lacks jurisdiction, so it is in the interests of justice to promptly transfer

21 this action to the Court of International Trade. 28 U.S.C. § 1631.

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 1                                               CONCLUSION

 2         For these reasons, defendants respectfully request that the Court transfer this action in its entirety

 3 to the Court of International Trade.

 4

 5 DATED: April 17, 2025                                  Respectfully submitted,

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